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                   THE DIOCESE OF CAMDEN PLAN TRUST AGREEMENT

        This trust agreement (this “Trust Agreement”) is made and entered into by and between
The Diocese of Camden, New Jersey (the “Diocese”) and [●] (the “Trust Administrator”)
pursuant to the SeventhEighth Amended Chapter 11 Plan of Reorganization dated May 2June 1,
2022 (together with all amendments, exhibits, supplements, and schedules thereto, the “Plan”)
filed in the Diocese’s chapter 11 bankruptcy case, Case No. 20-21257 (JNP), pending before the
United States Bankruptcy Court for the District of New Jersey (the “Bankruptcy Court”). Unless
otherwise stated in this Trust Agreement, capitalized terms used in this Trust Agreement shall have
the meanings ascribed to them in the Plan, the Confirmation Order (defined below), and/or title 11
of the United States Code (the “Bankruptcy Code”).

                                           RECITALS

        A.     On the Petition Date, the Diocese filed a voluntary petition for relief under chapter
11 of the Bankruptcy Code. The Diocese continues to operate its business as debtor in possession
pursuant to sections 1107(a) and 1108 of the Bankruptcy Code.

      B.     The Bankruptcy Court entered an order confirming the Plan (the “Confirmation
Order”) on June [●], 2022.

       C.      The Plan anticipates the creation of the Trust and the transfer and assignment to the
Trust of the Trust Assets.

       D.     Pursuant to the Plan, the Trust is to use the Trust Assets to pay Class 5 Claims and
Class 6 Claims and carry out the purposes of the Plan, among other obligations set forth therein.

        E.      Effective as of the date the Confirmation Order is entered, the Trust is established
for the benefit of the Beneficiaries of the Trust (each defined below) and is intended to qualify as
a “qualified settlement fund” within the meaning of Section 468B of the Internal Revenue Code
of 1986, as amended (the “Tax Code”) and Sections 1.468B-1 to -5 of the regulations promulgated
under the Tax Code (the “Treasury Regulations”).

        NOW, THEREFORE, pursuant to the Plan and the Confirmation Order, in consideration
of the premises and provisions in the Plan, and other good and valuable consideration, the receipt
and sufficiency of which are hereby acknowledged and affirmed, it is agreed as follows:

                                  DECLARATION OF TRUST

       Subject to approval by the Bankruptcy Court and effective as of the Effective Date, the
Diocese hereby absolutely assigns to the Trust, and to its successors in trust and its successors and
assigns, all rights, title, and interest of the Diocese in and to the Trust Assets;

       TO HAVE AND TO HOLD unto the Trust and its successors in trust and its successors
and assigns forever;

        IN TRUST NEVERTHELESS upon the terms and subject to the conditions set forth in
this Trust Agreement and for the benefit of the Beneficiaries, as defined below, as and to the extent

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provided in the Plan, and for the performance of, and compliance with, the terms of this Trust
Agreement, the Plan, and the Confirmation Order;

        PROVIDED, HOWEVER, that upon termination of the Trust in accordance with Article
IV of this Trust Agreement, this Trust Agreement shall cease, terminate, and be of no further force
and effect; and

        IT IS HEREBY FURTHER COVENANTED AND DECLARED that the Trust Assets
are to be held and applied by the Trust Administrator upon the further covenants and terms and
subject to the conditions set forth in this Trust Agreement.

                                        ARTICLE I.
                                    AGREEMENT OF TRUST

       1.1    Creation and Name. Effective as of the date the Confirmation Order is entered, the
Diocese hereby creates the Trust known as “The Diocese of Camden Plan Trust,” which is the Trust
provided for in the Plan. In the event of any inconsistency between the Plan and this Trust
Agreement, the terms of the Plan shall govern.

       1.2    Purpose. The purpose of the Trust is to assume responsibility for preserving,
managing, and distributing Trust Assets to Class 5 Claimants and distributing the Unknown Abuse
Claims Reserve to Class 6 Claimants in accordance with this Trust Agreement, the Plan, the
Confirmation Order and the Trust Distribution Plan.

         1.3    Transfer of Trust Assets. Pursuant to the Plan and upon the Effective Date, the
Diocese shall irrevocably transfer, absolutely grant, assign, convey, set over, and deliver to the
Trust at all times as set forth in the Plan, all of the Diocese’s rights, titles, and interests in and to
the Trust Assets in accordance with the Plan to be held in trust and for the uses and purposes stated
in this Trust Agreement and in the Plan. The Trust Administrator is hereby authorized to file with
the proper governmental authorities any and all documents necessary or helpful to establish the
Trust as of the date the Confirmation Order is entered.

       1.4     Transfer of Confidential Information. The Trust Administrator shall maintain the
confidentiality of all documents and follow the confidentiality procedures provided for in the
Bankruptcy Court’s Order Establishing Deadlines for Filing Proofs of Claim and Approving Form
and Manner of Notice Thereof [ECF 409].

       1.5     Irrevocability. The Trust shall be irrevocable. The Diocese shall not alter, amend,
revoke, or terminate the Trust. The Diocese shall have no power or authority to direct the Trust
Administrator to return any of the Trust Assets to the Diocese.

      1.6     Beneficiaries. The beneficiaries of the Trust are Class 5 Claimants and Class 6
Claimants under the Plan whose Claims are allowed by the Abuse Claims Reviewer (each a
“Beneficiary” and collectively, the “Beneficiaries”).




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         1.7      Acceptance of Assets and Assumption of Liabilities.

                1.7.1 In furtherance of the purposes of the Trust, the Trust Administrator hereby
         accepts the role of trustee of the Trust and accepts the grant, assignment, transfer,
         conveyance and delivery of the Trust Assets to the Trust, subject to the terms and
         conditions set forth in this Trust Agreement, the Plan, the Confirmation Order and the Trust
         Distribution Plan.

                1.7.2 In furtherance of the purposes of the Trust, the Trust Administrator, on
         behalf of the Trust, hereby expressly assumes all responsibility for preserving, managing
         and distributing Trust Assets to the Beneficiaries. The Claims of the Beneficiaries will be
         evaluated by the Abuse Claims Reviewer in accordance with the Trust Distribution Plan.

                 1.7.3 The Trust Administrator shall have all of the rights, powers and duties set
         forth in this Trust Agreement, the Trust Distribution Plan, and the Plan, and available under
         applicable law, for accomplishing the purposes of the Trust. The Trust Administrator’s
         powers are exercisable solely in a fiduciary capacity consistent with, and in furtherance of,
         the applicable provisions of the Plan, the purpose of the Trust, and applicable law. The
         Trust Administrator shall have the authority to bind the Trust within the limitations set
         forth in this Trust Agreement, but shall be acting in the capacity as Trust Administrator,
         and not individually, for all purposes contained in this Trust Agreement.

                1.7.4 In furtherance of the purposes of the Trust, the Trust Administrator assumes
         responsibility for (a) making payments to the Beneficiaries and Holders of Unknown
         Claims; (b) receiving, collecting, liquidating, maintaining, and distributing the Trust
         Assets; and (c) fulfilling all other obligations of the Trust under this Trust Agreement, the
         Plan, the Confirmation Order, and the Trust Distribution Plan. The Trust will be
         administered consistent with the purpose of the Trust and with no objective to continue or
         to engage in the conduct of a trade or business, except to the extent reasonably necessary
         to preserve the value of the Trust Assets or as otherwise provided in the Plan, the
         Confirmation Order or the Trust Distribution Plan.

                1.7.5 All Trust expenses and all liabilities of the Trust with respect to the
         Beneficiaries shall be payable solely by the Trust Administrator out of the Trust Assets.

                                        ARTICLE II.
                                    CORPUS OF THE TRUST

       2.2     Trust Composition. The Trust Assets shall include all property transferred to the
Trust pursuant to the Plan, Confirmation Order, and any future orders of the Bankruptcy Court,
including without limitation, all rights of every kind, nature, and description transferred to the
Trust pursuant to the Plan.

       2.3       Transfer to Trust. Upon the Effective Date, pursuant to the Plan and Confirmation
Order, title to and all rights and interests in the Trust Assets shall be transferred to the Trust free
and clear of all Liens, claims, encumbrances or Interests of any kind in the Trust Assets of any
other Person (including all Liens, claims, encumbrances or Interests of creditors of the Diocese)
in accordance with sections 1123, 1141, and 1146(a) of the Bankruptcy Code, except as otherwise

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provided for in the Plan. The Trust Administrator, on behalf of the Trust, shall receive the Trust
Assets when they are transferred to the Trust.

         2.4     Trust Administrator’s Right to and Title and Interest in Trust Assets. Upon the
transfer of the Trust Assets, the Trust succeeds to all of the Diocese’s and the Estate’s right to and
title and Interest in the Trust Assets, and the Diocese and the Estate shall have no further right to,
or title or Interest in or with respect to, the Trust Assets or the Trust.

        2.5     No Tax on Transfers to Trust. Pursuant to section 1146(a) of the Bankruptcy Code,
the delivery of any deed or other instrument of transfer under, in furtherance of, or in connection
with this Trust, including any deeds, bills of sale, or assignments executed in connection with any
transfer to the Trust or receipt or disposition/sale of assets by the Trust contemplated by the Plan,
shall not be subject to any stamp tax, real estate transfer tax, excise tax, sales tax, use tax, or similar
tax.

        2.6    Spendthrift Provision. To the fullest extent permitted by law, neither the principal
nor income of the Trust, in whole or in part, shall be subject to (a) any legal or equitable claims of
creditors of any Beneficiary or others, (b) legal process, or (c) voluntary or involuntary transfer,
assignment, anticipation, pledge, or other form of alienation or encumbrance except as may be
ordered by the Bankruptcy Court.

        2.7     Trust Corpus. The entirety of the Trust’s corpus shall be available to pay the
Beneficiaries and authorized expenses. The Trust Corpus shall be allocated, administered, and
distributed as provided in this Trust Agreement, the Plan, the Confirmation Order, and the Trust
Distribution Plan.

        2.8     Unknown Abuse Claims Reserve. $500,000.00 of the Trust Assets shall be set
aside in a reserve fund owned by the Trust for Unknown Abuse Claims pursuant to the Plan (the
“Unknown Abuse Claims Reserve”). The payments to holders of Unknown Abuse Claims shall
be made in accordance with the Trust Distribution Plan. The Unknown Abuse Claims Reserve
will terminate in accordance with the Plan and the Trust Distribution Plan. After the Unknown
Claims Reserve Establishment Period terminates, to the extent there are any remaining funds after
payment to all Unknown Abuse Claims pursuant to the Trust Distribution Plan, such remaining
funds shall be retained by the Trust, with no further restrictions on the Trust’s use of such funds
except for the general restrictions on use of Trust Assets provided for herein. For the avoidance
of doubt, the Unknown Abuse Claims Reserve shall be treated as assets of the Trust and the Class
6 Claimants shall be treated as Beneficiaries of the Trust to the extent otherwise provided in this
Trust Agreement, the Plan, and the Trust Distribution Plan.

                                      ARTICLE III.
                       POWERS AND DUTIES OF TRUST ADMINISTRATOR

       3.1     Trust Administrator’s Bond. The Trust Administrator shall not be required to post
any bond, surety, or other security for the performance of the Trust Administrator’s duties unless
otherwise ordered by the Bankruptcy Court, and, in the event the Trust Administrator is so
otherwise ordered, all reasonable costs and expenses of procuring any bond or surety shall be borne
by the Trust and paid for from the Trust Assets.


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       3.2     Powers and Duties. The Trust Administrator shall have, in addition to any other
powers and duties conferred on the Trust Administrator by applicable trust law (to the extent not
inconsistent with applicable bankruptcy law, the Plan, and the Confirmation Order), the Plan, the
Confirmation Order, and the Trust Distribution Plan, the following powers and duties:

                 3.2.1 To act as custodian of, and to receive, control, manage, liquidate, monetize,
         and dispose of, all Trust Assets and the Unknown Abuse Claims Reserve for the benefit of
         the Beneficiaries as the Trust Administrator deems appropriate to accomplish the purpose
         of the Trust, in accordance with the terms contained in this Trust Agreement, the Plan, the
         Confirmation Order, and the Trust Distribution Plan.

                3.2.2 To abandon any property which the Trust Administrator determines in the
         Trust Administrator’s reasonable discretion to be of de minimus value or of more burden
         than value to the Trust.

                 3.2.3 To protect and enforce the rights in and to the Trust Assets and the
         Unknown Abuse Claims Reserve by any method deemed appropriate, including without
         limitation, by judicial proceedings or pursuant to any applicable bankruptcy, insolvency,
         moratorium, or similar law and general principles of equity.

               3.2.4 To enter into contracts in the course of administering the Trust Assets and
         the Unknown Abuse Claims Reserve under this Trust Agreement, the Plan, the
         Confirmation Order, and the Trust Distribution Plan.

                 3.2.5 To open and maintain bank accounts on behalf of the Trust, deposit funds
         in the bank accounts, and draw checks on the bank accounts, as appropriate under this Trust
         Agreement, the Plan, and the Confirmation Order. Notwithstanding anything herein to the
         contrary, the Trust Administrator may open and maintain bank accounts on behalf of the
         Trust after the date the Confirmation Order is entered but prior to the Effective Date.

                3.2.6 To obtain all reasonably available insurance coverage with respect to any
         property that is, or may in the future become, a Trust Asset.

                 3.2.7 To incur on behalf of the Trust, and pay from the assets of the Trust, all
         fees, costs, and expenses of administering the Trust as provided this Trust Agreement, the
         Plan, the Confirmation Order, and the Trust Distribution Plan. These fees, costs, and
         expenses include: (a) the fees of bankruptcy claims and/or distribution agents, (b) the fees
         and costs of professionals employed by the Trust Administrator (the “Professionals”),
         including without limitation, the Abuse Claim Reviewer, investment advisors, accountants,
         agents, managers, attorneys-at-law, actuaries, or auditors, and (c) the premiums charged by
         insurers, including without limitation, professional liability insurers.

                 3.2.8 In accordance with the evaluation of the Abuse Claim Reviewer under the
         Trust Distribution Plan, to make distributions, in accordance with the Trust Distribution
         Plan, to Beneficiaries who have provided signed copies of all releases as required by the
         Plan.



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                3.2.9 In the Trust Administrator’s discretion, to rely on the authenticity of the
         signature of the Abuse Claim Reviewer, and the accuracy of the information set forth by,
         and the reasonableness of the determination of, the Abuse Claim Reviewer in the
         administration of the Trust Distribution Plan and assessment of the Class 5 Claims and
         Class 6 Claims without any verification or confirmation.

                3.2.10 In the Trust Administrator’s discretion, as a party in interest, to seek
         enforcement of any provision of the Plan or Confirmation Order pertaining to the Trust.

                 3.2.11 To retain any attorney-at-law, consultant, expert, accountant, investment
         advisor, bankruptcy management company, or such other agents and advisors as are
         necessary and appropriate to effectuate the purpose of, and maintain and administer, the
         Trust and shall be entitled to rely on advice given by such advisors within his, her, or its
         areas of competence.

                 3.2.12 Subject to consultation with the Trust Advisory Committee (defined below),
         to remove the Abuse Claim Reviewer for cause. For purposes of this Trust Agreement,
         “cause” shall mean (a) the willful and continued refusal by the Abuse Claim Reviewer to
         perform the Abuse Claim Reviewer’s duties as set forth in this Trust Agreement, the Trust
         Distribution Plan, and the Plan, (b) gross negligence, gross misconduct, fraud,
         embezzlement, or theft, (c) a breach of fiduciary duty, or (d) other cause as the Trust
         Administrator shall in good faith determine. In the event the Abuse Claim Reviewer
         resigns, is removed, or is otherwise unable to perform the Abuse Claim Reviewer’s
         obligations, the Trust Administrator, but subject to consultation with the Trust Advisory
         Committee, shall have exclusive authority to appoint a new Abuse Claim Reviewer.
         Nothing contained in this Trust Agreement shall prohibit the Trust Administrator from
         also serving as the Abuse Claim Reviewer if the Trust Administrator determines, but
         subject to consultation with the Trust Advisory Committee, that serving as both the Trust
         Administrator and the Abuse Claim Reviewer is in the best interest of the Trust and the
         Beneficiaries.

                3.2.13 To make, sign, execute, acknowledge, and deliver any documents that may
         be necessary or appropriate to effectuate the purpose of the Plan or the Trust or to maintain
         and administer the Trust.

                 3.2.14 To seek the examination of any Person under, and subject to, the provisions
         of the Bankruptcy Rules, including without limitation Bankruptcy Rule 2004.

                 3.2.15 To amend, modify, or alter this Trust Agreement by filing a motion with the
         Bankruptcy Court, with notice to the Beneficiaries (through their counsel when known,
         and otherwise directly), the Diocese, and any or all other parties in interest. For the
         avoidance of doubt, the amendments, modifications, or alterations may not be inconsistent
         with the terms of the Plan, the terms of the Confirmation Order, or the purpose of the Trust,
         as identified in Section 1.2 of this Trust Agreement.

                3.2.16 Upon any event terminating the Trust, to defer distribution of Trust Assets
         and the Unknown Abuse Claims Reserve for a reasonable time needed to wind up the


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         affairs of the Trust, including time needed to provide for payment of debts and expenses,
         although the Beneficiaries’ rights to distributions shall vest immediately.

                 3.2.17 To comply with section 345 of the Bankruptcy Code with regard to the
         investment of the Trust Assets. The Trust Administrator is relieved of any obligation to
         diversify.

                 3.2.18 To establish the accounts, funds, and reserves, as required by the Plan, for
         ease of administration. Nothing in this provision shall restrict the Trust Administrator’s
         authority to pool the accounts, funds, or reserves for investment purposes or shall require
         separate bank accounts for the accounts, funds, or reserves.

                3.2.19 To be responsible for only the Trust Assets and the Unknown Abuse Claims
         Reserve delivered to the Trust and have no duty to make, nor incur any liability for failing
         to make, any search for unknown property or liabilities.

                3.2.20 To defend and indemnify the Covered Parties against Abuse Claims as
         provided in the Plan, the Confirmation Order, and/or the Trust Distribution Plan;

                 3.2.21 To obtain all recoveries on account of Transferred Insurance Interests as set
         forth in the Trust Distribution Plan and to assert and/or assign to any Abuse Claimant all
         Coverage Claims and Extra-Contractual Claims that currently exist or may arise in the
         future against Non-Settling Insurers.

                3.2.22 To commence Coverage Claims and Extra-Contractual Claims against any
         Non-Settling Insurers in respect of the Transferred Insurance Interests as set forth in the
         Trust Distribution Plan.

                3.2.23 To request an expedited determination of taxes of the Trust under section
         505(b) of the Bankruptcy Code for all returns filed for, or on behalf of, the Trust for all
         taxable periods through the dissolution of the Trust; and

               3.2.24 To take any action required to enforce the Insurance Settlement
         Agreements.

      3.3     Limitations on the Trust Administrator. Notwithstanding anything in this Trust
Agreement to the contrary, the Trust Administrator shall not do or undertake any of the following:

                3.3.1 Guaranty any debt other than as provided for in this Trust Agreement or as
         required by the Plan;

                  3.3.2   Make loan(s) of Trust Assets;

                 3.3.3 Make any transfer or distribution of Trust Assets other than those authorized
         in this Trust Agreement, the Plan, the Confirmation Order, or the Trust Distribution Plan;

                  3.3.4   Engage in any trade or business; or



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                3.3.5 Engage in any investments or activities inconsistent with the treatment of
         the Trust as a “qualified settlement fund.”

                                     ARTICLE IV.
                               TERMINATION OF THE TRUST

        4.1    Pre-Effective Date Termination. The Trust Administrator, with the written consent
of the Tort Committee, may terminate the Trust if (a) the Plan does not become effective within
one (1) year from the date the Confirmation Order is entered by the Bankruptcy Court or (b) the
Chapter 11 Case is dismissed or converted to a case under Chapter 7 of the Bankruptcy Code (the
“Pre-Effective Date Termination”). Upon the Pre-Effective Date Termination of the Trust, the
Trust Agreement shall be null and void and of no force and effect, with the Trust Administrator
and the Diocese both discharged from any and all duties and obligations provided for in this Trust
Agreement.

        4.2     Post-Effective Date Termination. The Trust Administrator shall terminate the Trust
after (a) the Trust Administrator’s liquidation, administration, and distribution of the Trust Assets
and the Unknown Abuse Claims Reserve in accordance with this Trust Agreement, the Plan, the
Confirmation Order, and/or the Trust Distribution Plan and (b) the Trust Administrator’s full
performance of all other duties and functions set forth in this Trust Agreement and the Plan (the
“Post-Effective Date Termination”).

         4.3     Post-Effective Date Termination Procedures. After the Post-Effective Date
Termination of the Trust and solely for the purpose of liquidating and winding up its affairs, the
Trust Administrator shall continue to act as Trust Administrator until the Trust Administrator’s
duties in this Trust Agreement have been fully performed. The Trust Administrator shall retain
the books, records, documents, and files that shall have been delivered to, or created by, the Trust
Administrator until distribution of all the Trust Assets. For purposes of this provision, the Trust
Assets and the Unknown Abuse Claims Reserve will be deemed distributed when the total amount
remaining in the Trust is less than $50,000 and the Trust Administrator has decided that he or she
can no longer make a cost efficient pro rata distribution of such Trust Assets and/or Unknown
Abuse Claims Reserve to Beneficiaries. At the Trust Administrator’s discretion, all of the books,
records, documents, and files may be destroyed at any time following the later of: (a) the first
anniversary of the final distribution of the Trust Assets and the Unknown Abuse Claims Reserve
or (b) the date until which the Trust Administrator is required by applicable law to retain the books,
records, documents, and files; provided that, notwithstanding the foregoing, the Trust
Administrator shall not destroy or discard any books, records, documents, or files relating to the
Trust without giving the Diocese and the Beneficiaries reasonable prior written notice.

        4.4    Post-Effective Date Termination Distribution.          Upon Post-Effective Date
Termination of the Trust, provided that all fees and expenses of the Trust have been paid or
provided for in full, the Trust Administrator will deliver all funds and other investments in the
Trust, if any, including any investment earnings to a non-profit organization whose mission
includes supporting or advocating for survivors of child sexual abuse.

        4.5    Discharge, Exculpation, and Exoneration. Upon Post-Effective Date Termination
of the Trust and accomplishment of all activities described in this Article, the Trust Administrator


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and the Professionals shall be discharged and exculpated from liability, and the Trust
Administrator’s bond (if any), shall be exonerated except for acts or omissions resulting from the
recklessness, gross negligence, willful misconduct, knowing and material violation of law, or fraud
of the Trust Administrator or his designated agents or representatives. The Trust Administrator
may, at the expense of the Trust, seek an order of the Bankruptcy Court confirming the discharges,
exculpations, and exoneration referenced in this Section.

                             ARTICLE V.
 IMMUNITY, LIABILITY, AND INDEMNIFICATION OF TRUST ADMINISTRATOR

        5.1    Limitations on Liability. Neither the Trust Administrator nor any of the Trust
Administrator’s duly designated agents, representatives, or Professionals shall be liable for any act
or omission taken or omitted by the Trust Administrator in good faith, other than acts or omissions
resulting from the recklessness, gross negligence, willful misconduct, knowing and material
violation of law, or fraud of the Trust Administrator or the Trust Administrator’s designated
agents, representatives, or Professionals. The Trust Administrator may, in connection with the
performance of the Trust Administrator’s functions, and in the Trust Administrator’s sole and
absolute discretion, consult with the Professionals and shall not be liable for any act taken, omitted
to be taken, or suffered to be done in accordance with the advice or opinions rendered by the
Professionals. Notwithstanding this authority, the Trust Administrator shall be under no obligation
to consult with the Professionals, and the Trust Administrator’s good faith determination not to
consult with the Professionals shall not result in the imposition of liability on the Trust
Administrator, unless the determination is based on the Trust Administrator’s recklessness, gross
negligence, willful misconduct, knowing and material violation of law, or fraud.

        5.2     No Recourse Against the Trust Administrator Personally. No recourse shall be had,
directly or indirectly, against the Trust Administrator personally, or against any employee,
contractor, or Professional retained by the Trust Administrator in accordance with the terms of
this Trust Agreement, Plan, or Confirmation Order, by legal or equitable proceedings or by virtue
of any statute or otherwise, nor upon any promise, contract, instrument, undertaking, obligation,
covenant, or trust agreement executed by the Trust Administrator in implementation of this Trust
Agreement or the Plan or by reason of the creation of any indebtedness by the Trust
Administrator under the Plan for any purposes authorized by this Trust Agreement or the Plan,
it being expressly understood and agreed that any promise, contract, instrument, undertaking,
obligation, covenant, or trust agreement entered into by the Trust Administrator, whether in
writing or otherwise, shall be enforceable only against, and be satisfied only out of, the Trust
Assets and shall be evidence only of a right of payment out of the Trust Assets. The Trust
Administrator may be held liable for the Trust Administrator’s recklessness, gross negligence,
willful misconduct, knowing and material violation of law, or fraud; and if liability for t hese
grounds is established, recourse may be had directly against the Trust Administrator. The Trust
will not be covered by a bond.

        5.3     Indemnification. The Trust Administrator, using Trust Assets, shall defend,
indemnify, and hold harmless the Trust Administrator, the Trust Administrator’s officers,
directors, attorneys, agents, representatives, and employees to the fullest extent that a corporation
or trust organized under the laws of the state of New Jersey is entitled to defend, indemnify, and
hold harmless its trustees, officers, directors, attorneys, agents, representatives, and employees

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against any and all costs (including attorneys’ fees and costs), judgments, awards, amounts paid
in settlement, liabilities, expenses, claims, damages, or losses incurred by them in the
performance of their duties under this Trust Agreement; provided that neither the Trust
Administrator nor the Trust Administrator’s officers, directors, attorneys, agents, representatives,
or employees shall be defended, indemnified, or held harmless in any way for any liability,
expense, claim, damage, or loss for which they are ultimately held liable under Section 5.1 of this
Trust Agreement.

                               ARTICLE VI.
                       COMPENSATION AND EXPENSE
           REIMBURSEMENT OF TRUST ADMINISTRATOR AND ITS AGENTS

       The Trust Administrator shall receive fair and reasonable compensation for his or her
services based upon his or her regular hourly rate, which are subject to adjustment from time to
time, plus reimbursement of all reasonable and documented costs and expenses. The Trust
Administrator shall notify the Trust Advisory Committee of any increases in his or her hourly rate.
The Trust Administrator’s compensation structure may be modified by agreement between the
Trust Administrator and the Trust Advisory Committee.

       All Professionals retained by the Trust Administrator shall be entitled to reasonable
compensation for services rendered and reimbursement of expenses reasonably incurred in
rendering such services.

       The payment of the fees and expenses of the Trust Administrator and Professionals retained
by the Trust Administrator shall be made in the ordinary course of business and, unless otherwise
required by an order of the Bankruptcy Court, shall not be subject to the approval of the Bankruptcy
Court, but such payment shall be subject to the following procedures:

         (i)      All Professionals retained by the Trust Administrator shall deliver their invoices or
                  fee statements (which invoices and/or fee statements shall be reasonably detailed
                  (but may include redactions for privilege) and, with respect to attorney fee
                  statements, shall not be provided in summary fashion) on a monthly basis via
                  electronic mail to the Trust Administrator before payment of such invoices or fee
                  statements shall be approved.

         (ii)     The Trust Administrator shall deliver reasonably detailed monthly invoices or fee
                  statements via electronic mail to the Trust Advisory Committee c/o Lowenstein
                  Sandler LLP, Attn: Brent Weisenberg (bweisenberg@lowenstein.com), One
                  Lowenstein Drive, Roseland, NJ 07068.

         (iii)    The Trust Administrator and the Trust Advisory Committee, as applicable, shall
                  have fourteen (14) days from the date of delivery of any invoice or fee statement to
                  provide written notice of an objection to the invoice or fee statement to the
                  Professional or Trust Administrator, as applicable, seeking compensation and/or
                  reimbursement of expenses.

         (iv)     For an objection to an invoice or fee statement to be valid, it shall set forth in
                  reasonable detail the specific fees objected to and the basis for the objection, and

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                  be sent via electronic mail to the Trust Administrator or the Professional (with a
                  copy to the Trust Administrator), as applicable. The uncontested portion of each
                  invoice or fee statement shall be deemed approved and shall be paid within twenty
                  (20) days after its original delivery to the Trust Administrator.

         (v)      Any objection to an invoice or fee statement that remains unresolved fifteen (15)
                  days after it is made in writing may be submitted for resolution to the Bankruptcy
                  Court (via motion on notice to the Trust Administrator) by the party seeking
                  payment.

                                       ARTICLE VII.
                                TRUST ADVISORY COMMITTEE

       7.1    Members. The Trust Advisory Committee shall be appointed by the Tort
Committee and formed as of the Effective Date to oversee certain actions of the Trust
Administrator as set forth herein. Upon the death or resignation of a member of the Trust Advisory
Committee or removal for good cause shown, the remaining members of the Trust Advisory
Committee may, but shall not be required to, fill the applicable vacancy on the Trust Advisory
Committee with a new member, subject to the reasonable consent of the Trust Administrator,
which consent shall not be unreasonably withheld.

       7.2      Term of Service. Upon the completion of all the Trust Administrator’s duties,
responsibilities, and obligations under the Plan and this Trust Agreement, the Trust Advisory
Committee shall be automatically disbanded and its members shall have no further duties,
responsibilities, and obligations in connection with the Chapter 11 Case or the Plan and its
implementation.

       7.3     Reporting to the Trust Advisory Committee. After the Effective Date, and until the
Trust Advisory Committee is disbanded, the Trust Administrator shall provide the Trust Advisory
Committee with periodic updates on its and the Abuse Claims Reviewer’s progress. Nothing
herein shall preclude the Trust Advisory Committee from reasonably requesting additional
information from the Trust Administrator in the exercise of the Trust Advisory Committee’s duties
under the Plan or this Trust Agreement.

       7.4    Fiduciary. The members of the Trust Advisory Committee shall act in a fiduciary
capacity on behalf of the interests of all Beneficiaries.

       7.5    No Compensation. Members of the Trust Advisory Committee shall receive no
compensation from the Diocese, the Trust Administrator, or the Trust on account of their
membership on the Trust Advisory Committee except for reimbursement of their reasonable and
documented out of pocket expenses (which, for the avoidance of doubt, shall not include the fees
or expenses of any professionals retained individually by any member of the Trust Advisory
Committee).




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                                    ARTICLE VIII.
                           SUCCESSOR TRUST ADMINISTRATOR

         8.1      Vacancy Caused by the Trust Administrator’s Resignation or Removal.

                 8.1.1 The Trust Administrator may resign at any time upon thirty (30) days
         written notice to be filed with the Bankruptcy Court. The outgoing trustee (the “Outgoing
         Trust Administrator”) shall, within thirty (30) days after the Outgoing Trust
         Administrator’s resignation takes effect, deliver to the successor trustee (the “Successor
         Trust Administrator”) all of the Trust Assets which were in the possession of the
         Outgoing Trust Administrator along with a complete list of Trust Assets and a complete
         accounting of all transactions engaged by the Outgoing Trust Administrator while serving
         as the Trust Administrator.

                 8.1.2 The Bankruptcy Court may remove a Trust Administrator for cause, which
         cause shall include, but shall not be limited to, the factors set forth in any applicable New
         Jersey law. The removal will take effect upon the date the Bankruptcy Court specifies. In
         the event of removal, the Trust Administrator shall, within thirty (30) days after such
         removal takes effect, or at some earlier date as the Bankruptcy Court may specify, deliver
         to the Successor Trust Administrator all of the Trust Assets which were in the possession
         of the Outgoing Trust Administrator along with a complete list of Trust Assets and a
         complete accounting of all transactions engaged in by the Outgoing Trust Administrator
         while serving as such.

      8.2     Outgoing Trust Administrator Obligations. In the event of the resignation or the
removal of the Trust Administrator, the Outgoing Trust Administrator, in addition to the duties
imposed under Sections 8.1.1 or 8.1.2, shall:

                8.2.1 Execute and deliver by the effective date of the resignation or removal the
         documents, instruments, records, and other writings as may be reasonably requested by the
         Successor Trust Administrator to effect the resignation or removal of the Outgoing Trust
         Administrator and the conveyance of the Trust Assets and the Unknown Abuse Claims
         Reserve to the Successor Trust Administrator.

                8.2.2 Deliver to the Successor Trust Administrator all documents, instruments,
         records, and other writings relating to the Trust Assets and the Unknown Abuse Claims
         Reserve as may be in the possession or under the control of the Outgoing Trust
         Administrator.

                8.2.3 Otherwise assist and cooperate in effecting the assumption of the Outgoing
         Trust Administrator’s obligations and functions by the Successor Trust Administrator.

                8.2.4 The Outgoing Trust Administrator hereby irrevocably appoints the
         Successor Trust Administrator (and any interim trustee) as the Outgoing Trust
         Administrator’s attorney-in-fact and agent with full power of substitution for the Outgoing
         Trust Administrator and the Outgoing Trust Administrator’s name, place, and stead to do
         any and all acts that the Outgoing Trust Administrator is obligated to perform under this
         Trust Agreement. The appointment of the Successor Trust Administrator as the Outgoing

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         Trust Administrator’s attorney-in-fact and agent shall not be affected by the subsequent
         disability or incompetence of the Outgoing Trust Administrator. The Bankruptcy Court
         may also enter any order necessary to effect the termination of the appointment of the
         Outgoing Trust Administrator and the subsequent appointment of the Successor Trust
         Administrator.

       8.3    Appointment of Successor Trust Administrator. Any vacancy in the office of the
Trust Administrator shall be filled by the nomination of a majority of the members of the Trust
Advisory Committee

        8.4    Preservation of Record of Changes in Trust Administrators. A copy of each
instrument of resignation, removal, appointment, and acceptance of appointment shall be attached
to an executed counterpart of this Trust Agreement.

                                   ARTICLE IX.
                  TRUST ADMINISTRATOR REPORTING AND DISCHARGE

        9.1     Annual Accountings. The Trust Administrator shall prepare, at least annually, a
written accounting of the administration of the Trust listing the current Trust Assets and the
Unknown Abuse Claims Reserve with fair market values and detailing all transactions that
occurred during the period covered by the accounting. Each accounting shall be filed with the
Bankruptcy Court no later than April 30 of the following year for as long as the Chapter 11 Case
remains open and pending before the Bankruptcy Court. Copies of the accounting shall be
available to the Beneficiaries upon request. However, the Trust Administrator shall redact any
and all confidential and personal identifying information from any and all accountings or reports
filed with the Bankruptcy Court or provided to any Beneficiary.

        9.2     Approval of Accountings and Discharge of the Trust Administrator. At any time
when the Chapter 11 Case is open, the Trust Administrator may file with the Bankruptcy Court a
motion for approval of any accounting described in Section 9.1 of this Trust Agreement. Upon
the entry of an order of the Bankruptcy Court approving the accounting, the Trust Administrator
shall be discharged from all liability to the Trust, any Beneficiary, or any Person who has or may
have a claim against the Trust Administrator or Trust for acts or omissions in the Trust
Administrator’s capacity as Trust Administrator with respect to all assets listed and transactions
detailed in the accounting.

                                      ARTICLE X.
                            SECTION 468B SETTLEMENT FUND

        10.1 Qualification. In accordance with the Plan, the Trust Administrator shall take all
reasonable steps to ensure that the Trust will qualify as, and remain, a “qualified settlement fund”
within the meaning of Section 468B of the Tax Code and the Treasury Regulations. The Diocese
shall be the “transferor” within the meaning of Treasury Regulation Section 1.468B-1(d)(1). The
Trust Administrator shall be classified as the “administrator” within the meaning of Treasury
Regulation Section 1.468B-2(k)(3).

        10.2 All Events Test and Economic Performance Requirement. It is intended that the
transfer of the Trust Assets to the Trust shall satisfy the “All Events Test” and the “Economic

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Performance” requirement of Section 461(h)(1) of the Tax Code and Treasury Regulation Section
1.461-1(a)(2).

       10.3 Employer Identification Number. Upon establishment of the Trust, the Trust
Administrator shall apply for an employer identification number for the Trust in accordance with
Treasury Regulation Section 1.468B-2(k)(4).

        10.4 Relation-Back Election. If applicable, the Trust Administrator and the Diocese
shall fully cooperate in filing a relation-back election under Treasury Regulation Section 1.468B-
1(j)(2) to treat the Trust as coming into existence as a settlement fund as of the earliest possible
date.

        10.5 Filing Requirements. The Trust Administrator shall cause to be filed, on behalf of
the Trust, all required federal, state, and local tax returns in accordance with the provisions of
Treasury Regulation Section 1.468B-2(k)(1). The Diocese shall supply to the Trust Administrator
and to the Internal Revenue Service (the “IRS”) the statement described in Treasury Regulation
Section 1.468B-3(e)(2) no later than February 15 of the year following each calendar year in which
the Diocese makes a transfer to the Trust.

        10.6 Broad Powers of the Trust Administrator. The Trust Administrator is empowered
to take all actions, including any action consistent with those expressly set forth in Article IX of
this Trust Agreement, as the Trust Administrator deems necessary to reasonably ensure that the
Trust is treated as a “qualified settlement fund” under Section 468B of the Tax Code and the
Treasury Regulations. Further, the Trust Administrator may, unilaterally and without order from
the Bankruptcy Court, amend, either in whole or in part, any administrative provision of this Trust
Agreement which causes unanticipated tax consequences or liabilities inconsistent with this Article
X of this Trust Agreement.

                                         ARTICLE XI.
                                        BENEFICIARIES

        11.1 Register. The Trust Administrator shall keep a register (the “Register”) in which
the Trust Administrator shall at all times maintain the names and addresses of the Beneficiaries
and the actual distributions made to the Beneficiaries pursuant to the Plan and Trust Distribution
Plan. The Trust Administrator may rely upon the Register for the purposes of delivering
distributions or notices. In preparing and maintaining the Register, the Trust Administrator may
rely on the name and address of each Holder of a Claim as set forth in a Proof of Claim filed by
the Holder, or proper notice of a name or address change, which has been delivered by the
Beneficiary to the Trust Administrator. The Trust Administrator shall be obligated to maintain the
confidentiality of all names, addresses, and any and all other personally identifying information of
the Beneficiaries provided to the Trust Administrator.

        11.2 Rights of Beneficiaries. The rights of a Beneficiary under this Trust Agreement
shall, upon the death or incapacity of an individual Beneficiary, pass to the legal representative
of the Beneficiary. A Beneficiary shall have no title to, right to, possession of, management of,
or control of the Trust Assets or Unknown Abuse Claims Reserve, or any right to call for a
partition or division of the Trust Assets. Title to all the Trust Assets shall be vested in the Trust


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Administrator, and the sole interest of the Beneficiaries shall be the rights and benefits given to
the Beneficiaries under this Trust Agreement, the Plan, the Confirmation Order, and the Trust
Distribution Plan.

        11.3 Tax Identification Numbers. The Trust Administrator shall require any Beneficiary
to furnish to the Trust Administrator the Beneficiary’s employer or taxpayer identification number
or social security number as assigned by the IRS, and other records or documents necessary to
satisfy the Trust Administrator’s tax reporting obligations (including, but not limited to,
certificates of non-foreign status). The Trust Administrator shall condition the payment of any
distribution to any Beneficiary upon receipt of the number and records or documents.

                                     ARTICLE XII.
                              MISCELLANEOUS PROVISIONS

        12.1 Plan Incorporation. The terms of the Plan, the Confirmation Order, and the Trust
Distribution Plan are incorporated into this Trust Agreement. In the event of any conflict between
the terms of this Trust Agreement and the Plan, the terms of the Plan shall govern.

        12.2 Notices. All notices or deliveries required or permitted under this Trust Agreement
shall be given as directed in the Plan, to the following:

 IF TO THE DEBTOR:                                 IF TO THE TORT COMMITTEE:

 TRENK ISABEL SIDDIQI &                            LOWENSTEIN SANDLER LLP
 SHAHDANIAN P.C.                                   Jeffrey D. Prol, Esq.
 Richard D. Trenk, Esq.                            Michael A. Kaplan, Esq.
 Robert S. Roglieri, Esq.                          Brent Weisenberg, Esq.
 290 Mt. Pleasant Avenue, Suite 2350,              One Lowenstein Drive
 Livingston, New Jersey 07037                      Roseland, NJ 07068
 Email: rtrenk@trenkisabel.law                     Email: jprol@lowenstein.com
 Email: rroglieri@trenkisabel.law                  Email: mkaplan@lowenstein.com
                                                   Email: bweisenberg@lowenstein.com

 IF TO THE TRUST ADMINISTRATOR:




        12.3 Waiver. No failure or delay of any party to exercise any right or remedy pursuant
to this Trust Agreement shall affect the right or remedy or constitute a waiver by the party of any
right or remedy pursuant to this Trust Agreement. Resort to one form of remedy shall not
constitute a waiver of alternative remedies.

        12.4 Reimbursement of Costs. If the Trust Administrator or the Trust, as the case may
be, is the prevailing party in a dispute regarding the provisions of this Trust Agreement or the
enforcement of a provision of this Trust Agreement, the Trust Administrator or the Trust, as the
case may be, shall be entitled to collect from the non-prevailing party any and all costs, reasonable


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and documented out-of-pocket expenses and fees, including attorneys’ fees, incurred in connection
with the dispute or enforcement action.

        12.5 Entirety of Trust Agreement. This Trust Agreement supersedes any and all prior
oral discussions and agreements with respect to the subject matter in this Trust Agreement. This
Trust Agreement, together with the Exhibits to the Trust Agreement, the Plan, and the
Confirmation Order, contain the sole and entire Trust Agreement and understanding with respect
to the matters addressed in the Trust Agreement. It is acknowledged that there are no
communications or oral understandings that are contrary to, or that in any way restrict, this Trust
Agreement and that all prior agreements or understandings within the scope of the subject matter
of this Trust Agreement are, upon execution and delivery of this Trust Agreement, superseded,
null, and void.

       12.6 Counterparts. This Trust Agreement may be executed in two or more counterparts,
with the same effect as if all signatures on the counterparts appeared on one document, each of
which shall be deemed an original, but all of which together shall constitute one and the same
instrument. Facsimile signatures or signatures delivered by any other electronic means shall have
the same force and effect as original signatures.

       12.7 Captions. The captions of Articles and Sections are included for convenience only
and are to be disregarded in interpreting this Trust Agreement.

        12.8 Representation. It is acknowledged that each of the parties to this Trust Agreement
has reviewed this Trust Agreement and has consulted counsel, or knowingly chose not to consult
counsel, before executing this Trust Agreement. Each of the parties to this Trust Agreement
relied upon its own judgment and that of its counsel in executing this Trust Agreement and has
not relied on, or been induced by, any representation, statement, or act by any party that is not
referred to in this instrument. It is specifically acknowledged and understood that this Trust
Agreement has not been submitted to, nor reviewed or approved by, the IRS or the taxing
authorities of any state or territory of the United States of America. Each of the parties entered
into this Trust Agreement voluntarily, with full knowledge of its significance, and the Trust
Agreement is, in all respects, complete and final.

        12.9 Interpretation. This Trust Agreement has been reached through negotiations
between the parties to this Trust Agreement. Each of the parties to this Trust Agreement
acknowledges that the party has participated in the drafting of this Trust Agreement and reviewed
the terms of the Trust Agreement and, as such, no rule of construction shall apply which might
result in this Trust Agreement being construed in favor or against any of the parties, including
without limitation, any rule of construction to the effect that ambiguities ought to be resolved
against the drafting party. The parties to this Trust Agreement have used their own judgment in
entering into this Trust Agreement.

        12.10 Savings Clause. If any clause or provision of this Trust Agreement shall for any
reason be held invalid or unenforceable by the Bankruptcy Court or any other court with competent
jurisdiction, such invalidity or unenforceability shall not affect any other clause or provision in
this Trust Agreement, but this Trust Agreement shall be construed, insofar as reasonable to



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effectuate the purpose of this Trust Agreement, as if the invalid or unenforceable provision had
never been contained in the Trust Agreement.

       12.11 Applicable Law. This Trust Agreement shall be administered under, governed by,
and enforced according to the laws of the State of New Jersey applicable to contracts and trust
agreements made and to be performed in this Trust Agreement, except that all matters of federal
tax law and the Trust’s compliance with Section 468B of the Tax Code and any Treasury
Regulations shall be governed by federal tax law and all matters of federal bankruptcy law shall
be governed by the Bankruptcy Code and federal bankruptcy law.

 Dated: June [●], 2022                           Dated: June [●], 2022

 THE DIOCESE OF CAMDEN, NEW                      THE TRUST ADMINISTRATOR
 JERSEY
                                                 By:
 By:
                                                 Name:
 Reverend Robert E. Hughes,
 Vicar General/Vice President

 Dated: June [●], 2022

 TRENK ISABEL SIDDIQI &
 SHAHDANIAN P.C.


 Richard D. Trenk, Esq.
 Robert S. Roglieri, Esq.

 Counsel to The Diocese of Camden, New
 Jersey




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